    Case 4:17-cv-00163-ALM Document 1-3 Filed 03/06/17 Page 1 of 25 PageID #: 8
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                                                                    PM Lynne Finley
                                                                    Dislrict Clerk
                                                                    Collin County, Texas
                                                                    By Pam English Deputy
                                                                    Envelope ID: 15125849
                               CAUSE NO. 366-00541-2017

     TOM GLEASON AND                          §      IN THE DISTICT COURT OF
     JULIE GLEASON,                           §
                                              §
                 Plaintiffs,                  §
                                              §
     v.                                       §        COLLIN COUNTY, TEXAS
                                              §
    MARKEL AMERICAN                           §
    INSURANCE COMPANY,                        §
                                              §
                Defendant.                    §     JUDICIAL DISTRICT COURT


                         PLAINTIFFS' ORIGINAL PETITION


          Plaintiffs Tom Gleason and Julie Gleason (the "Gleasons") file this Original

    Petition against Defendant Markel American Insurance Company ("Markel") and

    respectfully show the Court as follows:

                                              I.
                                        PARTIES

          1.    The Gleasons are individuals residing in McKinney, Texas.

          2.    Markel is a Virginia corporation that operates and provides insurance

    in the State of Texas. Markel may be served by serving its registered agent, CT

    Corporation System, 1999 Bryan Street Suite 900, Dallas TX 75201-3136.




    PLAINTIFFS' ORIGINAL PETITION - PAGE l
    Case 4:17-cv-00163-ALM Document 1-3 Filed 03/06/17 Page 2 of 25 PageID #: 9
'




                                        II.
                             JURISDICTION AND VENUE

           3.    Markel is registered with the Texas Department of Insurance to

    conduct business in Texas. Markel otherwise conducts business in Texas by,

    among other things, marketing and selling insurance policies to Texas residents.

    This Court therefore has personal jurisdiction over Markel.

          4.     The amount sought by the Gleasons is within the jurisdictional limits

    of this Court.

          5.     Venue is appropriate in this Court pursuant to Section 15.002(1) of the

    Texas Civil Practices and Remedies Code because all or a substantial part of the

    events or omissions giving rise to the claims asserted herein occurred in Collin

    County, Texas. Alternatively, Markel's principal place of business in Texas

    appears to be located at 7500 Dallas Pkwy, # 400, Plano, TX 75024, which is in

    Collin County, Texas. Accordingly, venue is proper in this Court pursuant to

    Section 15.002(3) of the Texas Civil Practices and Remedies Code.

                                      III.
                            DISCOVERY CONTROL PLAN

          6.     Discovery in this lawsuit will be conducted according to Discovery

    Control Plan Level 3.




    PLAINTIFFS' ORIGINAL PETITION - PAGE 2
    Case 4:17-cv-00163-ALM Document 1-3 Filed 03/06/17 Page 3 of 25 PageID #: 10
'




                                            IV.
                                   RULE 47 STATEMENT

           7.       The Gleasons seek only monetary relief over $1,000,000.

                                              v.
                                FACTUAL BACKGROUND

           A.       The Company.

           8.       Prior to October 1, 2014, Tom Gleason, Alfred Gleason and Janet

     Gleason owned Cornerstone Partners, Inc. ("Cornerstone") and DPT, LLC

     ("DPT"). Cornerstone and DPT in tum owned Oregon Ice Cream, LLC ("Oregon

     Ice Cream").

           9.       Oregon Ice Cream manufactures, markets and sells three primary

     brands of frozen desserts: Julie's Organic Ice Cream, Alden's Ice Cream, and

     Cascade Glacier.

           B.    The D&O Covel'age.

           10.   In 2013, Oregon Ice Cream purchased a For Profit Management

     Liability Policy, Policy No. ML-809795, from Markel (the "Management Liability

     Policy"). The Management Liability Policy includes Directors and Officers and

    Company Liability coverage under Endorsement MML 1001 05 10 (the "D&O




    PLAINTIFFS' ORIGINAL PETITION - PAGE 3
    Case 4:17-cv-00163-ALM Document 1-3 Filed 03/06/17 Page 4 of 25 PageID #: 11
•




     Coverage"). The D&O Coverage covers "Claims" made between August 31, 2013

     and October 2, 2020. 1

            11.    The D&O Coverage provides the following coverage:

                   SECTION I - INSURING AGREEMENTS

                   A. INSURED PERSON LIABILITY COVERAGE

                   The Insurer shall pay on behalf of Jhe Insured Persons all Loss for
                   which the Insured Persons are not indemnified by the Company and-
                   which the Insured Persons become legally obligated to pay on accounl
                   of any Claim first made against Insured Persons, individually or
                   otherwise, during the Policy Period or the Extended Reporting Period,
                   if exercised, for a Wrongful Act taking place before or during the Policy
                   Period.

            12.    The D&O Coverage defines the term "Claim" to include the

     following:

                   A.      Claim means:

                                                     ***

                   2.      a civil proceeding againsl any Insured commenced by the
                           service of a co1nplaint or si1nilar pleading upon such Insured;

                                                     ***
                   for a Wrongful Act, including any appeal therefrom.

           13.     The D&O Coverage defines the tenn "Insured" to mean "Insured

     Persons," which term is then defined to include the following:

                   lnsm·ed Person, whether in the singular or plural, means:




     1
     The "Policy Period" is defined in the Management Liability Policy to run from August 31, 2013 to
    August 31, 2014. The "Policy Period" was extended to October 2, 2020 Jhrough a "Run-Off
    Endorsement," Policy Number ML8 J 5039.


    PLAINTIFFS' ORIGINAL PETITION -PAGE 4
    Case 4:17-cv-00163-ALM Document 1-3 Filed 03/06/17 Page 5 of 25 PageID #: 12
•




                    1.      any natural person who was, now is or shall during the Policy
                            Period become a duly elected or appointed director, trustee,
                            governor, Manager, officer, advisory director, or 111e1nber of a
                            duly constituted committee or board of the Company, their
                            functional equivalent or their foreign equivalent;

                                                      ***
            14.     The tenn "Wrongful Act" is defined in the D&O Coverage to mean

     the following:

                    K.     Wrongful Act means:

                    1.     any actual or alleged error, misstatement, misleading state1nent,
                           act, omission, neglect, or breach of duty by any Insured Person
                           in their capacity as such .. ; * * *



            I 5.   The D&O Coverage defines the term "Loss" to include the following:

                   Loss means the total amount the Insured becomes legally obligated to
                   pay on account of covered Claims made against them, including, but not
                   limited to, damages (including punitive, exemplary or multiple
                   damages), judgments, any award of pre-judgment and post-judgment
                   interest with respect to covered damages, settle1nents, Claim Expenses 2 .



            C.     The Transaction.

            16.    On or about October I, 2014, OIC Holdings, LLC ("OIC Holdings")

    purchased the equity interests Tom Gleason, Alfred Gleason and Janet Gleason




    2
      "Item 5. Coverage Schedule" in the Declarations to the Management Liability Policy specifies that
    Markel must defend any "Claim" that is covered by the D&O Coverage and which is not otherwise
    precluded by any exclusion to such policy. Additionally, the General Terms and Conditions of the
    Management Liability Policy define "Claim Expenses" to include attomeys' fees, expenses and costs of
    cou11.


    PLAINTIFFS' ORIGINAL PETITION -PAGES
    Case 4:17-cv-00163-ALM Document 1-3 Filed 03/06/17 Page 6 of 25 PageID #: 13
'




        owned in Cornerstone and DPT (the "Transaction"). Julie Gleason 3 also executed

        certain of the Transaction documents.

              17.    Prior to and throughout the negotiations with OIC Holdings leading to

     the Transaction, Tom Gleason was the President and Chief Executive Officer of

     Oregon lee Cream, and Julie Gleason was its Vice President.

              D.     The Lawsuit.

              18.    On or about December 15, 2015, OIC Holdings filed a lawsuit styled

     OIC Holdings, LLC v. Tom Gleason and Julie Gleason; Cause No. 366-05061-

     2015; In the 366'h Judicial District Court of Collin County, Texas (the "Lawsuit").

     The Gleason's were served with the Original Petition in the Lawsuit in late

     December 2015.

              19.   The Original Petition asserts that each of the Gleasons made and

    committed various purported errors, misstatements, misleading statements, acts,

    om1ss1ons, acts of neglect, and breaches of duty and that OIC Holdings was

    allegedly damaged by the same. At least certain of these errors, misstatements,

    misleading statements, acts, omissions, acts of neglect, and breaches of duty are




    3
      Julie Gleason did not own shares in Cornerstone or a membership interest in DPT. Any allegation in the
    Lawsuit (defined in paragraph 18) that Julie Gleason committed an act or omission, individually or in
    concert with Tom Gleason, could only be an allegation that she did so in her capacity as an officer of
    Oregon Ice Cream, particularly in light of the requirement that all allegations be liberally interpreted in
    favor of finding coverage for her.


    PLAINTIFFS' ORJGINAL PETITION - PAGE 6
Case 4:17-cv-00163-ALM Document 1-3 Filed 03/06/17 Page 7 of 25 PageID #: 14




    specifically alleged to have been committed by Tom Gleason in his capacity as an

    officer of Oregon Ice Cream.
                                                                                                 4
          20.    Among the allegations contained m the Original Petition are the

    following:

                     3 l. In particular, OIC learned from the Company's controller after
                     the Closing Date that the Company's financial performance through
                     August was substantially below budget. The controller additionally
                     disclosed that throughout the period from January through August
                     2014, Tom Gleason routinely required that the Company defer
                     expenses from one period to another and make other accounting
                     adjustments, to be able to report to the Company's primary lender
                     that it was in compliance with its loan covenants. Those deferrals
                     and other adjustments violated Generally Accepted Accounting
                     Practices ("GAAP"). 5

                     33. Tom Gleason, as President and Chief Executive Officer of the
                     Company, oversaw the preparation of the Company's balance sheet
                     as of September 30, 2014, which reflected positive working capital
                     of $185,000. Per Section 2.6 of the Purchase Agreement, OJC used
                     this balance sheet as the starting point for preparing its calculation of
                     the actual working capital of the Company as of September 30, 2014.
                     During the course of preparing its calculation of working capital,
                     OIC discovered several instances where the Co1npany's financial
                     statements. prepared under the supervision ofT01n Gleason, were not
                     prepared in accordance with GAAP. As a result, OJC proposed
                     approximately 31 separate adjustments to the Company's original
                     September 30, 2014 balance sheet. The Gleasons conceded that
                     approximately 20 of those adjustments were appropriate, however,
                     they disputed the remaining 11 items. Pursuant to the Purchase
                     Agreement, the Gleasons and OIC submitted the 11 disputed items to
                     binding arbitration before a mutually selected independent certified
                     public accountant. After receiving written sub111issions fro1n the
                     Gleasons and OIC, the independent CPA determined that
                     substantially all of the adjustments should be made as proposed by

4
  OJC Holdings filed and served a First Amended Petition on or about June 8, 2016 adding further
allegations against the Gieasons. This pleading is being forwarded to Markel requesting coverage for the
allegations therein.
5
 Tom Gleason would only have been in a position to commit the alleged act alleged in this paragraph as
an officer of Oregon Ice Cream. This is clear from a liberal interpretation of all of the allegations in the
Lawsuit.


PLAINTIFFS' ORIGINAL PETITION - PAGE 7
h
    Case 4:17-cv-00163-ALM Document 1-3 Filed 03/06/17 Page 8 of 25 PageID #: 15




                         OJC. This resulted in a total working capital adjustment of over $3.5
                         million to OIC. After applying the adjustments conceded by the
                         Gleasons and determined by the independent CPA to the September
                         30, 2014 financial statements prepared by the Company under the
                         supervision of Tom Gleason, the Company's EBITDA as of that date
                         is reduced by nearly $1.4 million. 6

                         55. * * * Jn addition, at the Gleasons' direction, the Company
                         knowingly and intentionally deferred or otherwise shifted expense
                         recognition fro1n one accounting period to another, manipulated
                         reserve balances, and ordered other accounting adjustments to
                         n1anage monthly ea111ings in violation of GAAP. As a result, the
                         Company's financial statements were not prepared in accordance
                         with GAAP, in violation of Section 3.5 of the Purchase Agreement. 1

                         56. At the Gleasons' direction, the Company also improperly treated
                         an office relocation as a prepaid asset rather than a capital asset in
                         September 2014. This too was at odds with GAAP. 8
                         99. In fact, Toni Gleason knew of the organic cream issues at least as
                         early as June 2014. This is evidenced by the fact he began altering
                         certain of the Con1pany's product formulations in response to the
                         organic cream shortages in that nlonth.

                        I 03. Nor did they disclose the non-GAAP adjustments to the
                        Company's financial statements. Just the opposite. Tom Gleason
                        knowingly and intentionally withheld from the Company's auditors
                        information regarding out of code inventory of finished goods and
                        raw ingredients, and certain letters confinning employee bonus
                        programs. The Gleasons knew at all relevant times during the


    6
      The allegations in paragraph 33 underlie the entirety of OJC Holding's allegations that Oregon Ice
    Cream's Earnings Before Interest, Tax, Depreciation and Amortization ("EBITDA") were purportedly
    substantially over estimated. OIC Holdings' allegations regarding the purported misstatement of EBITA
    are significant claims in the Lawsuit and the basis for OIC Holdings assertion of a substantial portion of
    its purported damages. Significantly, paragraph 33 specifically alleges that Tom Gleason's purported acts
    or 01nissions relating to the alleged rnisstate1nents in EBITDA were co1n1nitted in his capacity as
    President and Chi~( Executive Officer of Oregon lee Cream.
    1
      The Gleasons, and particularly Julie Gleason, would only have been in a position to co111mit the acts
    alleged in this paragraph as officers of Oregon lee Cream. Julie Gleason was not a shareholder, member
    or other equity owner in either Cornerstone or DP"f.

    ' Tom Gleason would only have been in a position to commit the act alleged in this paragraph as an
    officer of Oregon Ice Cream. This is clear from a liberal interpretation of all of the allegations in the
    Lawsuit. Moreover, this allegation is the basis for OIC Holdings' claim in the Original Petition that
    Oregon Ice Cream purportedly would have been in default of its primary loan to its lender had it been
    treated as a capital expenditure, and that OJC Holdings would not have completed the Transaction had it
    know of such alleged default.


    PLAINTIFFS' ORIGINAL PETITION - PAGE 8
Case 4:17-cv-00163-ALM Document 1-3 Filed 03/06/17 Page 9 of 25 PageID #: 16




                     negotiations over the Purchase Agreement that this infonnation was
                     material and the Gleasons had a duty to disclose this infonnation.

                     I 04. Tom Gleason also instructed the Company's controller to defer
                     certain expenses and 1nake other accounting adjustments in violation
                     of GAAP so that the Company presented to its senior lender
                     fraudulent financial staten1ents indicating the Cotnpany was in
                     co1npliance with its Joan covenant, when in fact he knew the
                            .           9
                     opposite was true.

         21.     Based on the foregoing allegations, as well as other allegations

 asserted in the Original Petition, OIC Holdings claimed that the Gleasons breached

 a contract, committed fraud, made negligent misrepresentations, violated Chapter

 27 of the Texas Business and Commerce Code and violated the Texas Securities

 Act. OIC Holdings futiher alleged that the Gleasons damaged OIC Holdings as a

.result of their alleged acts and omissions.

        E.       The Denial of Coverage.

        22.      On or about January 22, 2016, the Gleasons sought a defense of and

 indemnification from the allegations in the Lawsuit by having their lawyer send a

 copy of the Original Petition to Markel' s lawyer.

        23.      On or about March 15, 2016, Markel, through its lawyer,

 acknowledged receipt of the Original Petition, and specifically acknowledged that

the Gleason's were insureds under the D&O Coverage of the Management

Liability Policy. However, Markel denied that the Management Liability Policy

9
  Tom Gleason would only have been in a position to commit the act alleged in paragraphs 99, 103 and
104 as an officer of Oregon Jee Cream. This is clear from a liberal interpretation of all of the allegations
in the Lawsuit.


PLAINTIFFS' ORIGINAL PETITION - PAGE 9
Case 4:17-cv-00163-ALM Document 1-3 Filed 03/06/17 Page 10 of 25 PageID #: 17




    provided any coverage to the Gleasons for the allegations in the Lawsuit. Since at

    least March 15, 2016, Markel has continuously failed and refused to provide a

    defense to the Gleasons in the Lawsuit. Markel has otherwise repudiated its

    obligation to indemnify the Gleasons for any settlement or judgment that may be

    rendered in the Lawsuit.

                                                  VI.
                                CONDITIONS PRECEDENT

          24.   All conditions precedent to the bringing of this action have occmTed,

 been excused, or perfonned.

                                   VII.
                     BREACH OF CONTRACT I REPUDIATION

          25.   The Gleasons re-allege and incorporate by reference the factual

 allegations above.

          26.   Markel entered into a contract with Oregon Ice Cream to provide,

 among others, the D&O Coverage to "Insured Persons."

          27.   Each of the Gleason's is an "Insured Person" under the D&O

Coverage by reason of the fact that they were officers of Oregon Ice Cream at the

time of the negotiations relating to the Transaction, and at all other times relevant

to OIC Holdings' allegations in the Lawsuit. 10 The Original Petition specifically

    0
' Markel admitted in the letter from its lawyer denying coverage that the Gleasons were Insureds under
the D&O Coverage of the Management Liability Policy.


PLAINTIFFS' ORIGINAL PETITION - PAGE 10
Case 4:17-cv-00163-ALM Document 1-3 Filed 03/06/17 Page 11 of 25 PageID #: 18




 alleges that Tom Gleason committed acts and/or omissions in his capacity as an

 officer (President and Chief Executive Officer) of Oregon Ice Cream. The Original

 Petition also alleges that the Gleasons purportedly committed acts and omissions

 which they could only have committed as officers of Oregon Ice Cream. Indeed,

 Julie Gleason did not own any shares in Cornerstone nor any membership interests

 in DPT. The only authority she would have had to commit the purported errors and

 omissions was in her position as Vice President of Oregon Ice Cream.

       28.   As "Insured Persons," the Gleasons are intended third-party

 beneficiaries of the Management Liability Policy and are entitled to enforce its

 terms and sue for Markel's breach of such policy.

       29.   The Lawsuit constitutes a civil proceeding against the Gleasons as

 "Insured Persons" under the D&O Coverage, and therefore also as "Insureds"

 under the Management Liability Policy. Further, the Lawsuit was commenced by

the service of an Original Petition on the each Gleasons. The Lawsuit therefore

 constitutes a "Claim" under the D&O Coverage. The Lawsuit was first asserted

against the Gleasons during the "Policy Period."

       30.   The Original Petition alleges errors, misstatements, misleading

statements, acts, omissions, neglect and/or breaches of duties by Tom Gleason as

an officer of Oregon Ice Cream and/or by the Gleasons in what could only have

been, based on a liberal interpretation of such allegations, in their capacities as

PLAINTIFFS' ORIGINAL PETITION -PAGE 11
Case 4:17-cv-00163-ALM Document 1-3 Filed 03/06/17 Page 12 of 25 PageID #: 19




 officers of Oregon Ice Cream. The Lawsuit therefore has at all times alleged

 "Wrongful Acts" against the Gleasons, and such "Wrongful Acts" are alleged to

 have occurred during the "Policy Period."

           31.   Based on the foregoing, coverage exists under the D&O Policy for at

 least some, if not all, of the allegations in the Lawsuit.

           32.   The Gleasons provided Markel with timely notice of the Lawsuit,

 provided it with a copy of the Original. Petition and requested that it act in

 accordance with its obligations under the Management Liability Policy.

       33.       By reason of the foregoing, Markel owes each of the Gleasons a duty

 to defend in the Lawsuit and to indemnify them against any settlement or judgment

 that may be obtained on the allegations in the Lawsuit.

       34.       Despite its duty to defend the Gleasons, Markel has failed and

 specifically refused to fulfill this contractual obligation. Instead, Markel has

 specifically denied that it owes either of the Gleasons any duty to defend them in

 the Lawsuit. Markel' s actions constitute a breach of the Management Liability

 Policy.

       35.       Additionally, despite its duty to indemnify the Gleasons for any

 settlement or judgment that may be rendered in the Lawsuit, Markel has very

 clearly stated its intent to deny any covered "Loss" that may arise from OIC



 PLAINTIFFS' ORJGINAL PETITION - PAGE 12
Case 4:17-cv-00163-ALM Document 1-3 Filed 03/06/17 Page 13 of 25 PageID #: 20




 Holdings'   allegations.   Markel's   actions   constitute   a   repudiation   of its

 indemnification obligations in the Management Liability Policy.

       36.    As a result of Markel's breach and repudiation of its obligations

 under the Management Liability Policy, the Gleasons have been and will be

 damaged by reason of having to pay their own attorneys' fees, expenses and costs

 of court. Additionally, in the unlikely event OIC Holdings receives a judgment on

 any of the allegations in the Lawsuit, the Gleasons will be further damaged by

 having to pay such judgment without indemnification by Markel against at least

 certain of such damages, if not all such damages.

                                    VIII.
                      VIOLATION OF CHAPTERS 541AND542
                        OF THE TEXAS INSURANCE CODE

       37.   The Gleasons re-allege and incorporate by reference the factual

 allegations above.

       38.   While Markel has specifically agreed that the Gleason's are "Insured

 Persons" under the D&O Coverage, it nevertheless denied any responsibility to

 provide coverage to the Gleasons.

       39.   When providing Markel with a copy of the Original Petition in the

 Lawsuit, the Gleasons' lawyer specifically pointed out to Markel that (a) the

 Lawsuit contained specific allegations that Tom Gleason committed certain alleged

 acts and omissions in his capacity as President and Chief Executive Officer of

 PLAINTIFFS' ORIGINAL PETITION - PAGE 13
    Case 4:17-cv-00163-ALM Document 1-3 Filed 03/06/17 Page 14 of 25 PageID #: 21
'




     Oregon Ice Cream, and (b) there were multiple allegations of acts and omissions in

     the Lawsuit that, under a liberal interpretation of such allegations, the Gleasons

     could have committed only in their capacity as officers of Oregon Ice Cream.

     Markel acknowledged in its letter denying coverage that it understood what the

     Gleasons' lawyer was pointing out. Markel nevertheless ignored these points.

           40.    Markel and its affiliates have been writing insurance policies and

     defending lawsuits throughout the United States for a substantial number of years.

     To write appropriate policies and to ensure that it is properly perfonning its duties

     under such policies, Markel undoubtedly ensures that it is up to date on the

     applicable laws in each state relating to such duties. It does this by, among other

     things, hiring intelligent and capable claims adjusters and attorneys. As a result of

     Markel's efforts to be knowledgeable on what the law requires with respect to its

     duties, Markel is fully aware, among other things, that:

           -   When detennining if a duty to defend exists, Markel must act as if all the
               facts alleged in the plaintiffs petition against the policyholder are trne,
               and Markel' s task is solely to determine if the claims fall within the
               scope of the policy coverage based on such facts.

           -   The factual allegations within a petition are liberally interpreted when
               determining if a petition alleges facts that potentially state a claim within
               the coverage of a policy for purposes of the duty to defend.

           -   Any doubt as to whether the allegations state a claim within the coverage
               of the policy is resolved in the policyholder's favor.



    PLAINTIFFS' ORIGINAL PETITION - PAGE 14
Case 4:17-cv-00163-ALM Document 1-3 Filed 03/06/17 Page 15 of 25 PageID #: 22




        - The focus of the inquiry of whether a duty to defend is on the facts
          alleged, not the legal theories asse11ed.

        41.   Despite    this   knowledge    and   despite   acknowledging      specific

 allegations that mandated that Markel defend the Gleasons in the Lawsuit, Markel

 made the detennination to come up with and assert a faulty interpretation of the

 allegations in the Original Petition so that it could attempt to deny its duties to the

 Gleasons.

       42.    Specifically, Markel's interpretation requires that everyone accept that

 OIC Holdings' allegations against "Tom Gleason," "Julie Gleason" and "the

 Gleasons" in the Original Petition can only be interpreted to be against them in

 their capacity as sellers of Cornerstone and DPT. That interpretation ignores the

 specific allegation that Tom Gleason committed acts and omissions as an officer of

 Oregon Ice Cream. That interpretation ignores the fact that Julie Gleason did not

 own shares in Cornerstone or a membership interests in DPT. That interpretation

 ignores that Julie Gleason could only owe duties or obligations, if at all, in her

 capacity as an officer of Oregon Ice Cream. That interpretation ignores the

 requirement that Markel give a liberal interpretation to the allegations in the

 Lawsuit in determining whether coverage exists. That interpretation ignores the

 requirement that Markel resolve any doubt about coverage in favor of the

 Gleasons. That interpretation is simply erroneous and Markel knew it.


 PLAINTIFFS' ORIGINAL PETITION - PAGE 15
        Case 4:17-cv-00163-ALM Document 1-3 Filed 03/06/17 Page 16 of 25 PageID #: 23
•   •




                43.   The denial of coverage by Markel was therefore with the specific

         knowledge that it was improper. Markel undoubtedly believed that the Gleasons

         would not look further at the policy or allegations and merely accept Markel' s

         interpretation of the denial of coverage.

               44.    Markel's actions constitute a knowing misrepresentation to the

         Gleasons of facts and policy provisions relating to the coverage at issue. Markel' s

         actions also compelled the Gleasons to institute this suit to recover amounts now

         due to them as a result of Markel's refusal to defend them in the Lawsuit. Markel

         has therefore violated at least Sections 541.052, 541.060, 541.061 and 542.003 of

         the Texas Insurance Code.

               45.    Markel's refusal to timely acknowledge the Gleasons' claim and to

         defend the Gleasons against the allegations made in the Lawsuit also constitutes a

         violation of Sections 542.051, 542.055 and 542.056 of the Texas Insurance Code.

               46.    Specifically, Markel has failed and refused and continues to fail and

         refuse to make prompt payment of costs and attorneys' fees that are clearly due

         and owing under the D&O Coverage of the Management Liability Policy.

               4 7.   The Gleasons are therefore entitled to recover the attorneys' fees,

        expenses and costs of court they have expended to defend themselves in the

        Lawsuit, as well as any payment they may have to make for any settlement or



        PLAINTIFFS' ORIGINAL PETITION - PAGE 16
         Case 4:17-cv-00163-ALM Document 1-3 Filed 03/06/17 Page 17 of 25 PageID #: 24
I•   •




          judgment that may be rendered on the allegations covered by the Management

          Liability Policy.

                 48.    The Gleasons are further entitled to recover 18% penalties on the

          ·attorneys' fees, expenses and costs of court they are incuning in the Lawsuit, as

          well as the attorneys' fees they have and will expend in enforcing Markel to

          comply with its obligations under the Management Liability Policy.

                                      IX.
               BREACH OF THE DUTY OF GOOD FAITH AND FAIR DEALING

                 49.    The Gleasons re-allege and incorporate by reference the factual

          allegations above.

                 50.    The Gleasons are "Insureds" under the Management Liability Policy.

          Markel accordingly owes each of the Gleasons a duty of good faith and fair

          dealing.

                 51.    Markel breached its duty of good faith and fair dealing by failing and

          refusing to defend the Gleasons in the Lawsuit without a reasonable basis. Markel

          denial of all coverage, and therefore of its obligation to ultimately indemnify the

          Gleasons from at least certain of the damages in the Lawsuit without a reasonable

          basis, is also a breach of this duty.

                52.    The Gleasons have been damaged as a result of Markel's bad faith

          denial of a defense and the repudiation of its indemnification obligation under


          PLAINTIFFS' ORIGINAL PETITION - PAGE 17
,_   Case 4:17-cv-00163-ALM Document 1-3 Filed 03/06/17 Page 18 of 25 PageID #: 25




      D&O Coverage of the Management Liability Policy. The Gleasons therefore seek

      their attorneys' fees, expenses and costs of court expended in defending

      themselves in the Lawsuit, as well as recovery of any payment they may have to

      make for any settlement or judgment that may be rendered on the allegations

      covered by the Management Liability Policy.

                                               x.
                      EXEMPLARY AND ADDITIONAL DAMAGES


            53.    The Gleasons re-allege and incorporate by reference the factual

      allegations above.

            54.    Markel knew that the bases for its denial of defense to the Gleasons

      and its repudiation of its indemnification obligation under the Management

      Liability Policy were incorrect. Markel nevertheless denied such defense and

      repudiated its indemnification obligation intentionally or through gross negligence.

      Accordingly, the Gleasons are entitled to recover exemplary damages from

      Markel.

            55.   Markel's violations of Section 541 of the Texas Insurance Code were

      knowingly committed. The Gleasons are therefore entitled to recover three times

      the amount of their actual damages.




     PLAINTIFFS' ORJGINAL PETITION - PAGE 18
Case 4:17-cv-00163-ALM Document 1-3 Filed 03/06/17 Page 19 of 25 PageID #: 26




                                   XI.
                  ATTORNEYS' FEES, COSTS AND INTEREST

        56.    The Gleasons re-allege and incorporate by reference the factual

  allegations above.

        57.   The Gleasons presented the Lawsuit to Markel and requested that it

  fulfill its obligations to defend and indemnify the Gleasons therein. Despite such

 presentment, Markel has not performed its obligations under the Management

 Liability Policy and instead has specifically refused to perfonn its obligations

 under that Policy.

        58.   The Gleasons are therefore entitled to recover the costs and attorneys'

 fee_s they have and will incur in this proceeding, as well as all appeals, pursuant

 Chapter 38 of the Texas Civil Practices and Remedies Code.

        59.   The Gleasons also seek prejudgment and post judgment interest at the

 maximum legal rate on the money due and owing.

                                     XII.
                           REQUEST FOR DISCLOSURE

        60.   The Gleasons request that Markel, pursuant to Rule 194 of the Texas

 Rules of Civil Procedure, disclose the infonnation or material described in Rule

 194.2 within 50 days of the day of service of this Original Petition.




 PLAINTIFFS' ORIGINAL PETITION - PAGE 19
Case 4:17-cv-00163-ALM Document 1-3 Filed 03/06/17 Page 20 of 25 PageID #: 27




                                        XIII.
                                     PRAYER

       WHEREFORE, Tom Gleason and Julie Gleason request judgment against

  Markel American Insurance Company awarding Tom Gleason and Julie Gleason

 all damages sustained as a result of Markel American Insurance Company's

 actions and omissions, exemplary damages and/or additional damages as alleged,

 prejudgment and post judgment interest, their reasonable attorney's fees and costs,

 and such other and fmiher relief to which they may show themselves entitled.

                                       Respectfully Submitted,



                                       BRYAN HA YNES
                                       State Bar No.09283520
                                       Email: Bryan.Haynes@solidcounsel.com
                                       SCHEEF & STONE, LLP
                                       500 North Akard Street
                                       Suite 2700
                                       Dallas, Texas 75201
                                       (214) 706-4200 Phone
                                       (214) 706-4242 Fax

                                      J. MITCHELL LITTLE
                                      State Bar No. 24043788
                                      Email: Mitch.Little@solidcounsel.com
                                      ANDREA K. BOURESSA
                                      State Bar No. 24061549
                                      andrea.bouressa@solidcounsel.com
                                      SCHEEF & STONE, LLP
                                      2601 Network Blvd., Suite 102
                                      Frisco, Texas 75034
                                      (214) 472-2100 Telephone
                                      (214) 472-2150 Fax

                                      ATTORNEYS FOR PLAINTIFFS
                                      TOM GLEASON AND JULIE GLEASON

 PLAINTIFFS' ORIGINAL PETITION - PAGE 20
            Case 4:17-cv-00163-ALM Document 1-3 Filed 03/06/17 Page 21 of 25 PageID #: 28
                                                                CIVIL CASE INFORMATION SHEET                                                     Filed: 2/3/2017 3:15:36
                                                                                                                                                  PM Lynne Finley
           CAUSE NUMBER (FOR CLERK USE ONLY): 366-00541-2017                                                        COURT (FOR CLERK u~ietnct;E~l•~rk~~------­
                                                                                                                                                  comn County, Texas
               STYLED TOM GLEASON AND JULIE GLEASON V. MARKEL AMERICAN INSURANCE COMPANY By Pam English Deputy
                                 (e.g., Juhn Smill1 v. All Amcrit·1111 h1~·ur.mo.:e Co; In re Mary Ann Ju1ws; 111 1he M:iller of the Estati: ufGc(.@V.lil.[™)D: 15125849
 A civil case information sheet must be completed and subrnitled when an original pcli!ion or application is tiled lo initiate fl new civil, family law, probale, or mcnrnl
 health c<1se or when a post·judgmenl petition for modification or motion for enforcement is filed in a family law case. The infornrntion should be the best available at
 the time of filing

 I. Contact information for person comolefin2 case information sheet:                Names or narlics in case:                                      Person or enlitv comolclin<> sheet is:
                                                                                                                                                  IB}Auorney for PlaintiftlPetilioner
 Name:                                      Email:                                   Pia inti ff(s )/Petitioner(s ):                              0Pro Se Plaintiff/Petitioner
                                                                                                                                                  0Title IV-D Agency
 Bryan Haynes                               bryan.haynes@solidcounsel.com             Tom Gleason and Julie Gleason                               001her:

 Address:                                   Telephone:
                                                                                                                                                 AdrJi1ionat Parties in Child Support Case:
 500 North Akard, Suile 2700                214-706-4200
                                                                                     DetCndant{s)/Rcspondent(s):                                 Custodial Parent:
 City/Slate/Zip:                            F;ix:
                                                                                     Markel Americnn Insurance
 Dallas, Texas 7520 I                       214-706-4242                                                                                         Non-Custodial P<1rent:
                                                                                     Company
 Signature:                                 State Bar No:
                                                                                                                                                 Presumed Father:
 Isl B.vtJllll\. HlltJ!AlS.                 09283520
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2. Indicate case tvnc, or identify the most import an I issue in the c<1sc (select 011ly I):
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0Non-Competi1ion                      Prod11c1 Litibililv                   0Judgmcnt Nisi                                 Judgment                            Tennination
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                                     Oothcr h\iu1y or Dnmagc:               OOther:                                        of Minority                       0Grandparcnl Access
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                                                                                                                                                                Rights
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 0Appeal from 1\1u11icip<1I or Justice Court                   0Declarntory Judgment                                                0Prejudgment Remedy
 0Al"bitration-rclatcd                                         0Gamishmcnt                                                          0Protcctivc Order
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 Otcss than $100,000 and non-monclary relief
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              Case 4:17-cv-00163-ALM Document 1-3 Filed 03/06/17 Page 22 of 25 PageID #: 29
CT Packing Slip                                                                        ~~} CT Corporation

      UPS Tracking # :    1Z0399EX0108647762
          Created By:     Nitesh Chand
         Created On:      02/09/2017 0326 PM
           Recipient:
                              Kathleen Sturgeon

                                             Title:
                                         Customer:    Markel Midwest, Inc.
                                          Address:    1OParkway North
                                            Email:    LegalRegulatory@mark~COlp.com

                          I,_              Phone:     847-572-6387              Fax:
       Package Type :     Envelope
       Items shipped :    2




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                Log#                           Case#                                             Entity Name

              530661465                  31CV201790010300
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                                                                           Essentia Insurance Company
              530663506                    366005412017                      MARKEL AMERICAN INSURANCE COMPANY   I
    Case 4:17-cv-00163-ALM Document 1-3 Filed 03/06/17 Page 23 of 25 PageID #: 30
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                         1999 BRYAN STREET
                         D1\LLAS TX 75201

                         SHIP TO:
                             KATHLEEN STURGEON
                             8475726387
                             MARKEL MIDWEST, INC.
                             10 PARKWAY NORTH
                             DEERFIELD IL 60015



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   Case 4:17-cv-00163-ALM Document 1-3 Filed 03/06/17 Page 24 of  252/16/2017
                                                              Filed:  PageID      #: 31
                                                                              12:10:26 PM
                                                                                        Lynne Finley
                                                                                        District Clerk
                                                                                        Collin County, Texas
                                                                                        By Candice Noe-Hill Deputy
                                                                                        Envelope ID: 15359916
                                          TIIHSTATFOI- TKXAS
                                             CIVIL CITATION
                                         CASEN0.366-0054I-2017

Tom Glcasonjulie Gleason vs. Markcl American                                         In the .366th District Court
Insurance Company
                                                                                        Of Collin County, Texas


NOTICF, TO Dr.r-T.NDANT: "You have been sued. You may employ an attorney. If you or your attorney
do not file a written answer with the clerk who issued this citation by 10:00 a.m. on the Monday next
following the expiration of twenty days after you were served this citation and petition, a default judgment
may be taken against you."

I'O: Markcl American Insurance Company
RegAgentCT Corporation System
1999 Bryan StreetSuite 900
Dallas TX 75201, Defendant

GREETINGS: You are commanded to appear by filing a written answer to Plaintiffs Original Petition at
or before ten o'clock A.M. on the Monday next after the expiration of twenty days after the date of seiwice of
this citation before the Honorable 366th District Court of Collin County, Texas at the Coiinhouse of said
County in McKinncy, Texas.

Said Plaintiffs Petition was filed in said court, by Bryan Haynes 500 N Akard Suite 2700 Dallas 1X 75201
(Attorney for Plaintiff or Plaintiffs), on Febniar}' 03. 2017, in this case, numbered 366-00541 -2017 on the
tlocket of said court.

The natures of Plaintiffs demand is fully shown by a true and correct copy of Plaintiffs Original Petition
accompanying this citation and made a parthereof.


Issued and given under my hand and seal ofsaid Court at McKinncy. iexas. on this the 6th day of February,
2017.

                                                                       ATTEST: Lynne Finley. District Clerk
                                                                                           Collin County. Texas
                                                                                      Collin County Courthouse
                                                                                            2100 Bloomdale Road
                                                                                         McKinney. Texas 75071
                                                                972-348-4320. Metro 972-424-1460 ext. 4320
                                             ^ V/       A
                                                        /a                      Sigf*,l/.h.','OI7 9?0 U,AM




                                                              .-3/    By: '                                  , Deputy
                                                    .                            Pam l-lnalish


riie law prohibits the Judge and the clerks from giving legal advice, so please do not seek legal advice.
Any questions you have should be directed to an attorney.

                         .ATTACKSEB
       Case 4:17-cv-00163-ALM Document 1-3 Filed 03/06/17 Page 25 of 25 PageID #: 32
                                                CAUSE NO. 366-00541-2017

       TOM GLEASON AND JULIE GLEASON                         §                          IN THE DISTRICT COURT
                                                             §
                                                             §
                           Plaintirf(s),                     §
       VS.                                                   §                        366TH JUDICIAL DISTRICT
       MARKEL AMERICAN INSURANCE                             §
       COMPANY
                                                             §
                                                             §
                          Defendant(s).                      §                          COLLIN COUNTY, TEXAS

                                                RETURN OF SERVICE

    Came to my hand on Wednesday, February 8, 2017 at 5:00 PM,
    Executed at: 1999 BRYAN STREET, SUITE 900, DALLAS, TX 75201
    within the county of DALLAS at 10:00 AM, on Thursday, February 9, 2017,
    by individually and personally delivering to the within named:

                                  MARKEL AMERICAN INSURANCE COMPANY


    By delivering to its Registered Agent, CT CORPORATION SYSTEM
    By delivering to its Authorized Agent, TERRI THONGSAVAT
    a true copy of this

                          CIVIL CITATION, PLAINTIFF'S ORIGINAL PETITION and
                                             IVIL CASE INFORMATION SHEET


    having first endorsed thereon the date of the delivery.

BEFORE ME, the undersigned authority, on this day personally appeared Danny L. Haney who after being duly sworn
on oath states: "My name is Danny L. Haney. I am a person over eighteen (18) years of age and I am competent to make
this affidavit. I am a resident of the State of Texas. I have personal knowledge of the facts and statements contained in this
affidavit and aver that each is true and correct. I am not a parly to this suit nor related or affiliated with any herein, and
have no interest in the outcome of the suit. I have never been convicted of a felony or of a misdemeanor involving moral
turpitude. I am familiar with the Texas Rules of Civil Procedure, and the Texas Practice and Remedies Codes as they
apply to service of process. I am approved by the Supreme Court ofTexas, Misc. Docket No. 05-9122 under Rule 103 and
501.2 of the TRCP to deliver citations and other notiee> from any District, County and Justice Courts in and for the Slate
ofTcxas."


                                                                       Danny L. Haney

                                                                 Of:   Dallas County

                                                                 By:
                                                                       Authorized Persdh -SCir^6 -Exp 03/31/17           /j

    Sub^ibcd and Sworn to by Danny L. Haney, Before Me, the undersigned authority, on this
    /^"^-day of February, 2017.
              ' "           ''f m"'i' I: i

               , •, '3; ^                                                           in and for^^htte of Texas
                          Mv Crniri f.'0 0-                                                  '
